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 6                                UNITED STATES DISTRICT COURT

 7                    EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

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 9    ROGER McINTOSH                                  Case No. 1:07-CV – 01080 LJO-GSA
10                  Plaintiffs,
                                                      ORDER DISMISSING NORTHERN
11                  vs.                               CALIFORNIA UNIVERSAL ENTERPRISES
                                                      COMPANY
12    NORTHERN CALIFORNIA UNIVERSAL
      ENTERPRISES COMPANY, a California
13    Corporation; LOTUS DEVELPMENTS,
      LLP; THE CITY OF WASCO, a municipal
14    California corporation also doing business as
      DEWALT CORPORATION; and DOES 1
15    through 10, inclusive
16                  Defendants.
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18           Pursuant to Federal Rule of Civil Procedure 41(c), NORTHERN CALIFORNIA
19    UNIVERAL ENTERPRISES COMPANY is hereby dismissed as a cross-defendant in this action
20    without prejudice.
21    IT IS SO ORDERED
22    DATED: _December 8, 2009                    By:_/s/ Lawrence J. O’Neill_____
                                                    UNITED STATES DISTRICT JUDGE
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                [PROPOSED] ORDER DISMISSING NORTHERN CALIFORNIA UNIVERSAL ENTERPIRSES COMPANY
